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      18-40758 Claim
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Branch :LSN,User :1                                                                            Station ID :GBCI




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                                     CWALT, INC.,
                                       Depositor

                          COUNTRYWIDE HOME LOANS, INC.,
                                     Seller

                                 PARK GRANADA LLC,
                                        Seller

                                 PARK MONACO INC.,
                                       Seller

                                  PARK SIENNA LLC,
                                        Seller

                      COUNTRYWIDE HOME LOANS SERVICING LP,
                                 Master Servicer

                                          and

                               THE BANK OF NEW YORK,
                                       Trustee

                          ___________________________________

                         POOLING AND SERVICING AGREEMENT
                                 Dated as of June 1, 2005
                          __________________________________


                         ALTERNATIVE LOAN TRUST 2005-27
                 MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-27




NY1 5727231v.3
Case
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      18-40758 Claim
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                                         22
Case
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      18-40758 Claim
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                     29-3PartFiled:
                              3 Filed   06/11/18
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                              EXHIBIT "1"22
Shellpoint Mortgage Servicing                              Phone Number:            (800) 365-7107
PO Box 10826                                               Fax:                     (866) 467-1137
                                                           Email:    mtgbk@shellpointmtg.com
Greenville, SC 29603-0826



RE: Debtor 1    Dale Harms
    Debtor 2
Case No:    1840758
PROOF OF SERVICE
I certify that a copy of the foregoing documents were served upon the following persons electronically or by mail via the U.S.Postal
Service, postage prepaid or by personal delivery, at their scheduled addresses on this day, 6//2018.

Northern District of California, Oakland Division
1300 Clay Street
Suite 300
Oakland, CA 94612


Martha G Bronitsky
P.O. Box 5004
Hayward, CA 94540


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6XLWH
2DNOH\&$




/s/ Barbara Lebiedziewicz




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Case:
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Case:
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                                      of 22
Case:
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                    29-3 Filed: 05/30/18
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Case:
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Case:
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Case:
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                    29-3 Filed:
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Case:
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      18-40758 Doc#
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                    29-3 Filed:
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Case:
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      18-40758 Doc#
               Doc#19-1
                    29-3 Filed:
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